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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND

  Narragansett Indian Meeting Church
  Plaintiff,
  v.                                               Case No.: 1:21−cv−00332−MSM−PAS

  Irving Johnson
  Defendant.

                NOTICE OF RULE 16(b) SCHEDULING CONFERENCE

          A Rule 16(b) pretrial scheduling conference regarding the above case will be held
  before District Judge Mary S. McElroy in Remote Hearing on June 29, 2022 at 10:45 AM.
          In order to facilitate an informed discussion of the merits of the case and the
  prospect for settlement, lead counsel are required to confer prior to that time for the
  following purposes (pursuant to counsel's obligations under Fed. R. Civ. P. 26(f):
          1.   Exchanging relevant information and documents;

          2.   Identifying the facts that are in dispute;

          3.   Identifying the legal issues;

          4.   Identifying as precisely as possible the nature of the discovery contemplated
               by each party;

          5.   Exploring the possibility of settlement before substantial expenditures of time
               and money are made;

          6.   Possible referral to Alternative Dispute Resolution (ADR) in the form of a
               mandatory Settlement Conference before a Magistrate Judge or a conference
               with the ADR Administrator.

          In addition, at least seven (7) days prior to the conference, counsel for each party
  asserting a claim (including a counterclaim and/or cross−claim) shall file a written
  statement no longer than three (3) pages in length which summarizes the facts of the case
  and identifies any legal issues which may arise.
          Trial counsel, including counsel admitted pro hac vice, must attend the
  conference, unless previously excused by the presiding judge, and should be prepared to
  discuss each of the aforementioned subjects.
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          Counsel are instructed to notify the case manager for the undersigned judge if
  counsel for any party has been omitted from the list of counsel receiving this notice.

  June 15, 2022                                By the Court:
                                               /s/ Mary S. McElroy
                                               United States District Judge



  U.S. District Court
  for the District of Rhode Island
  One Exchange Terrace
  Providence, RI 02903
  Case Manager: Carrie Potter 401−752−7204
